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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
       v.                                    :       Case No. 1:22-CR-11 (RJL)
                                             :
ALAN FISCHER III,                            :
BRIAN BOELE, et al.                          :
                                             :
                      Defendants.            :



                      RESPONSE TO DEFENDANT’S MOTION TO
                   “SET TIME FOR TRANSFER OF VENUE MOTION”

       On June 28, 2023, this Court issued a Minute Order stating that “all defendants shall file

their pre-trial motions on or before July 24, 2023.” Id.; see also ECF No. 118. The Court’s order

contains no ambiguity. It does not distinguish between motions under Fed. R. Crim. P. 12 (“Rule

12”) or any other rule, including Rule 21 (“Transfer for Trial”). Yet defendants Fischer and Boele

now argue otherwise and seek an extension until October 11, 2023 to file a motion to change

venue. See ECF No. 120.

       By definition, a motion to change the trial venue is a “pre-trial motion” and thus is covered

by the Court’s Minute Order of June 28, 2023 setting today as the deadline for “pre-trial motions.”

Id. Moreover, defendant Fischer has already had over a year and a half to file pre-trial motions,

including a motion to change venue, see ECF Nos. 11, 32, and defendant Boele has had over a

year, see ECF No. 54. The Court originally set the pre-trial motions deadline as June 30, 2023, see

Minute Order March 29, 2023, and has extended that deadline once already at the defense’s

request, see ECF No. 118, Minute Order June 28, 2023. Enough is enough.

       Additionally, at this point in the history of January 6 prosecutions, a change of venue

motion borders on frivolous. This Court and eighteen other judges in this District (i.e. all but
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Judges Reyes and Sullivan) have considered and denied motions for change of venue in dozens of

January 6 prosecutions, and no judge has granted a change of venue in a January 6 case. See, e.g.,

United States v. Maxwell, 22-cr-99, Minute Entry (D.D.C. June 15, 2023) (RJL); United States v.

Wren, Minute Entry (D.D.C. April 11, 2023) (RBW); United States v. Ramey, 22-cr-184, Minute

Entry (D.D.C. Jan. 30, 2023) (DLF); United States v. Eckerman, et al., No. 21-cr-623, Minute

Order (D.D.C. Jan. 26, 2023) (CRC); United States v. Pollock, et al., No. 21-cr-447, Minute Entry

(D.D.C. Jan. 25, 2023) (CJN); United States v. Gossjankowski, No. 21-cr-12, ECF No. 114 (D.D.C.

Jan. 25, 2023) (PLF); United States v. Adams, No. 21-cr-212, ECF No. 60 (D.D.C. Jan. 24, 2023)

(ABJ); United States v. Rhine, No. 21-cr-687, ECF No. 78 (D.D.C. Jan. 24, 2023) (RC); United

States v. Oliveras, No. 21-cr-738, ECF No. 52 (D.D.C. Jan. 17, 2023) (BAH); United States v.

Sheppard, No. 21-cr-203, ECF No. 62 (D.D.C. Dec. 28, 2022) (JDB); United States v. Samsel, et

al., No. 21-cr-537, ECF No. 227 (D.D.C. Dec. 14, 2022) (JMC); United States v. Gillespie, No.

22-cr-60, ECF No. 41 (D.D.C. Nov. 29, 2022) (BAH); United States v. Barnett, No. 21-cr-38, ECF

No. 90 (D.D.C. Nov. 23, 2022) (CRC); United States v. Bender, et al., No. 21-cr-508, ECF No. 78

(D.D.C. Nov. 22, 2022) (BAH); United States v. Sandoval, No. 21-cr-195, ECF No. 88 (D.D.C.

Nov. 18, 2022) (TFH); United States v. Vargas Santos, No. 21-cr-47, Minute Entry (D.D.C. Nov.

16, 2022) (RDM); United States v. Nordean, et al., No. 21-cr-175, ECF No. 531 (D.D.C. Nov. 9,

2022) (TJK); United States v. Ballenger, No. 21-719, ECF. No. 75 (D.D.C. Oct. 28, 2022) (JEB);

United States v. Eicher, No. 22-cr-38, ECF No. 34 (D.D.C. Oct. 20, 2022) (CKK); United States

v. Schwartz, et al., No. 21-cr-178, ECF No. 142 (D.D.C. Oct. 11, 2022) (APM); United States v.

Nassif, No. 21-cr-421, ECF No. 42 (D.D.C. Sep. 12, 2022) (JDB); United States v. Brock, No. 21-

cr-140, ECF No. 58 (D.D.C. Aug. 31, 2022) (JDB); United States v. Jensen, No. 21-cr-6, Minute

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Entry (D.D.C. Aug. 26, 2022) (TJK); United States v. Seitz, No. 21-cr-279, Minute Order (D.D.C.

Aug. 17, 2022) (DLF); United States v. Strand, No. 21-cr-85, ECF No. 89 (D.D.C. Aug. 17, 2022)

(CRC); United States v. Williams, No. 21-cr-618, ECF No. 63 (D.D.C. Aug. 12, 2022) (ABJ);

United States v. Herrera, No. 21-cr-619, ECF No. 54 (D.D.C. August 4, 2022) (BAH); United

States v. Garcia, No. 21-cr-129, ECF No. 83 (D.D.C. July 22, 2022) (ABJ); United States v. Rusyn,

et al., No. 21-cr-303, Minute Entry (D.D.C. July 21, 2022) (ABJ); United States v. Bledsoe, No.

21-cr-204, Minute Order (D.D.C. July 15, 2022) (BAH); United States v. Calhoun, No. 21-cr-116,

Minute Order (D.D.C. July 11, 2022) (DLF); United States v. Rhodes, et al., No. 22-cr-15, ECF

No. 176 (D.D.C. June 28, 2022) (APM); United States v. Williams, No. 21-cr-377, Minute Entry

(D.D.C. June 10, 2022) (BAH); United States v. McHugh, No. 21-cr-453, Minute Entry (D.D.C.

May 4, 2022) (JDB); United States v. Hale-Cusanelli, No. 21-cr-37, Minute Entry (D.D.C. Apr.

29, 2022) (TNM); United States v. Webster, No. 21-cr-208, ECF No. 78 (D.D.C. Apr. 18, 2022)

(APM); United States v. Alford, 21-cr-263, ECF No. 46 (D.D.C. Apr. 18, 2022) (TSC); United

States v. Brooks, No. 21-cr-503, ECF No. 31 (D.D.C. Jan. 24, 2022) (RCL); United States v.

Bochene, No. 21-cr-418, ECF No. 31 (D.D.C. Jan. 12, 2022) (RDM); United States v. Fitzsimons,

No. 21-cr-158, Minute Order (D.D.C. Dec. 14, 2021) (RC); United States v. Reffitt, No. 21-cr-32,

Minute Order (D.D.C. Oct. 15, 2021) (DLF); United States v. Caldwell, 21-cr-28, ECF No. 415

(D.D.C. Sept. 14, 2021) (APM). Other than seeking three months’ more time “for data collection,

analysis, and multi-layered review” of vague “technology and analysis that shows January 6th

internet searches and case exposure in D.C. compared to other states and cities” under the

unsupported theory that “exposure portends bias,” ECF No. 120 at 2-3, defendants’ motion fails

to articulate how an additional three month extension will yield a different outcome. This dead

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horse has been sufficiently beaten.

       The defendant relies on Skilling v. United States, 561 U.S. 358 (2010), yet even there the

Supreme Court affirmed the trial court’s denial of the defense motion to transfer venue. Id. The

Supreme Court held that Skilling rightfully was tried in the venue where his crimes were

committed (Houston, Texas) and that he received a fair trial, despite the concerns of juror prejudice

that Skilling highlighted. Id. at 385. Skilling provides scant support to extend the pre-trial motions

deadline at all, let alone by almost three more months.

       WHEREFORE, the government respectfully requests that this Court deny the defendant’s

motion and reaffirm that the deadline for all pre-trial motions, including change of venue, is today,

June 24, 2023.

                                               Respectfully submitted,

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